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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES RANDALL,                                              CIVIL ACTION
                     Plaintiff,

              v.

CITY OF PHILADELPHIA LAW                                    NO. 18-1541
DEPARTMENT, JOHN MOUZON AND
LEON MCKNIGHT,
               Defendants.

                                         ORDER

       AND NOW, this 18th day of May, 2018, upon consideration of Defendants’ Second

Motion to Dismiss (ECF No. 6) and Plaintiff’s Opposition Thereto (ECF No. 11), IT IS

ORDERED that Defendants’ motion is GRANTED. Plaintiff’s First Amended Complaint is

DISMISSED WITH PREJUDICE.

       The Clerk of Court is directed to CLOSE this case.

                                                  BY THE COURT:


                                                  /s/Wendy Beetlestone, J.

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                                                  WENDY BEETLESTONE, J.
